                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                     )      MATTICE/CARTER
                                              )
        v.                                    )      CASE NO. 4:10-CR-17
                                              )
 LESLIE SCOTT                                 )

                                            ORDER

        On July 20, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture, possess with intent

 to distribute and distribute a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 USC §§ 846 and

 841(a)(1) and 841(b)(1)(C), in exchange for the undertakings made by the government in the

 written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the

 lesser included offense in Count One of the Indictment; (c) that a decision on whether to accept

 the plea agreement be deferred until sentencing; and (d) Defendant shall remain on bond pending

 sentencing in this matter (Doc. 202). Neither party filed an objection within the given fourteen

 days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea

 agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included



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 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN ON BOND pending sentencing on Monday,

 November 22, 2010, at 2:00 pm.

        SO ORDERED.

        ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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